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'%AO 245D                                                        #603
             (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 1



                                     UNITED STATES DISTRICT COURT
                                                         Southern District of Illinois

         UNITED STATES OF AMERICA                                       Judgment in a Criminal Case
                    v.                                                  (For Revocation of Probation or Supervised Release)
                    Mary Jo Tatum

                                                                        Case No. 4:01CR40057-06-JPG
                                                                        USM No. 05405-025
                                                                          Judith A. Kuenneke, AFPD
                                                                                                 Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)          as alleged below                  of the term of supervision.
o   was found in violation of condition(s)            _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number             Nature of Violation                                                             Violation Ended
Statutory                      The defendant committed the offense of False Statements                       02/01/2010



Statutory                      The defendant tested positive for marijuana                                   01/26/2010



       The defendant is sentenced as provided in pages 2 through _--.:3:.-_ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 2046                      03/25/2010

Defendant's Year of Birth:         1972

City and State of Defendant's Residence:
Marion, IL 62959
                                                                          J. Phil Gilbert                              District Judge
                                                                                                Name and Title of Judge

                                                                             )'IM4A.. h'                    .)-e//e"/
                                                                                                         bate
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DEFENDANT: Mary Jo Tatum
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                                                     ADDITIONAL VIOLATIONS

                                                                                                                     Violation
Violation Number              Nature of Violation                                                                   Concluded
Standard # 2                  The defendant failed to provide truthful information to probation                 01/30/2010



Standard # 3                  The defendant failed to provide truthful information to probation per drugs       01/26/2010



Standard # 5                  The defendant failed to maintain employment                                       12/29/2009



Standard # 9                  The defendant associated with a convicted felon without permission



Special                       The defendant failed to participate in program of substance abuse treatment           01/12/2010



Special                       The defendant failed to participate in program of mental health treatment             01/12/2010
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               (Rev. 12/07) Judgment in a Criminal Case for Revocations
               Sheet 2- Imprisonment

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  DEFENDANT: Mary Jo Tatum
  CASE NUMBER: 4:01 CR40057-06-JPG


                                                                   IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
10 months




       "    The court makes the following recommendations to the Bureau of Prisons:

That the defendant be placed in Greenville, IL.




       "    The defendant is remanded to the custody of the United States Marshal.

       o The defendant shall surrender to the United States Marshal for this district:
         o at ___________________ 0 a.m. o p.m. on
         o as notified by the United States Marshal.
       o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         o before 2 p.m. on
         o as notified by the United States Marshal.
         o as notified by the Probation or Pretrial Services Office.
                                                                          RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                   to

  at   ____________________________ with a certified copy ofthis judgment.




                                                                                             UNITED STATES MARSHAL

                                                                             By ________________________________________
                                                                                          DEPUTY UNITED STATES MARSHAL
